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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE§

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff, §
VS. § NO. 1:05-10030-T
THOMAS RUSSELL TACKETT, §
Defendant. §

 

ORDER DENYING DEFENDANT THOMAS RUSSELL TACKETT’S MOTION TO
SUPPRESS

 

The grand jury indicted Thomas Russell Tackett (“Defendant”) for receiving and
possessing an unregistered “silencer,” for receiving and possessing a silencer that did not
bear a serial number, and for receiving and possessing an unregistered “UZI,” all in violation
of federal law. Defendant moved to suppress evidence of the silencer and the UZI pursuant
to the Fourth Amendment. On August 5“‘, 2005, the court held a hearing at which both
Defendant and the Governrnent presented evidence and argument After the hearing, the
court took the matter under advisement and advised the parties that it Would issue Written
findings of fact and conclusions of law at a later date. For the reasons that shall follow,

Defendant’s Motion to Suppress is DENIED.

Thts doeumententered on the docket _ ln com nance
with Rule 55 and!or 32(b) FF|CrP on

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]. Findings of Fact
A. The Government’s Proof

At the suppression hearing, the Government first presented the testimony of Steve
Cornelius (“Trooper Comelius” or “the Trooper”), now a retired member of the Tennessee
Highway Patrol (“THP”) who was on duty in the morning hours of June 21, 2004. At
approximately 7:00 a.m., Trooper Cornelius arrived at the scene of a single vehicle accident
on Pyburn Road in Hardin County, Tennessee. Trooper Cornelius observed an overturned
vehicle on one side of the road that he estimated was one-hundred (lOO) feet down an
embankment or ditch. When the Trooper arrived, two Hardin County sheriff s deputies were
already working the accident. After the Trooper had a short discussion with the deputies, he
went into an ambulance where he had been told he would find and did find Defendant.
Defendant, according to Trooper Comelius, appeared to be suffering from a “serious” head
injury, and he was not able to remember many specifics regarding the accident

While Defendant was lying down in the ambulance receiving medical assistance,
'frooper Cornelius asked Defendant if Defendant “had anything on him or anything l needed
to know about.” Defendant moved his hand up and voluntarily relinquished a revolver that
he had on his person in the ambulance Because of Defendant’s condition and because the
medical personnel had decided that Defendant would have to be immediately evacuated to
the hospital by helicopter, Trooper Cornelius did not converse with Defendant any further.

Instead, Trooper Cornelius gave the revolver to the local deputies who, according to Trooper

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Cornelius, had already located “a bag with firearms.”l lt was Trooper Cornelius’s
understanding at that time that Defendant would not have been allowed to keep the revolver
in the ambulance

The Trooper testified that the reason he was present at the scene was to investigate
“the accident part of it.” He concluded that Defendant had lost control of his vehicle while
negotiating a curve Pursuant to his duties with THP, the Trooper called a tow truck. Before
the tow truck arrived, and also pursuant to “required procedure[s]” that the Trooper was to
follow in a towing situation, Trooper Cornelius conducted an inventory of the vehicle and
ofthe items inside Trooper Comelius’s inventory list of the vehicle recorded the following
items: two (2) umbrellas, one (l) pair of gloves, and one (l) blanket (Def. Ex. l).

On cross-examination, Trooper Cornelius testified that one of the reasons he had
entered the ambulance was because the local deputies had informed him that they had
discovered firearms inside a bag that Defendant had previously removed from his overturned
vehicle The Trooper had noticed this bag sitting on the tailgate of a truck that had not been
involved in the accident The truck was parked on the side of the road opposite the ditch
where Defendant’s vehicle was located.

The Government next called Deputy Billy Franks (“Deputy Franks” or “the Deupty”),
of the Hardin County Sheriff’s Department, to the witness stand. Deputy Franks had been

dispatched to the accident scene before Trooper Cornelius. When the Deputy approached

 

'The Trooper assumed that the local deputies were conducting “a firearms investigation.”

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the scene, he observed Defendant’s vehicle in a ditch on one side of the road, and he
observed a pickup truck parked on the other side of the road. Several people were already
congregated around the pickup truck, including Defendant Defendant was sitting on the
tailgate of the pickup truck. As everyone waited for an ambulance to arrive, Deputy Franks
directed traffic, and he briefly spoke to Defendant to make sure that Defendant was not too
seriously injured and could stay awake Defendant was “more or less in and out, trying to
stay awake.”

Deputy Franks observed that Defendant was “worried” about a bag that was on the
ground behind the tailgate of the pickup truck. The bag was a “dark color,” and it had a
“zipper” on it. This was the only bag that the Deputy remembered The Deputy eventually
picked this bag up, after Defendant was in the ambulance, and put the bag on the tailgate
Later, the Deputy decided to look inside the bag. I-Ie found firearms He determined their
type and ran a “check” on them to make sure that they were not stolen. I-Ie then put the
firearms back into the bag, but he retained custody of it.

lt was the Deputy’s testimony that he had no suspicion of Defendant at the time he
opened the bag or even after he found the firearms Instead, he was merely taking an
“inventor[y] [of the bag] to make sure that he didn’t have no valuables iii it so he couldn’t
come back and say that there was something in it that wasn’t.” He took this “inventory”
because it was “pursuant to a policy of the Hardin County sheriff" s department.” The Deputy

understood, based on experience, that Defendant would not have been permitted to retain

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custody of the bag either in the ambulance or on the air-evacuation helicopter. These entities
were “very strict” on not allowing such personal effects on board. The ambulance and air-
evacuation teams would give a victim’s personal property to the THP if the property was in
the vehicle or they would give it to the deputies if outside of the vehicle The department’s
policy, therefore, was to assume essentially exclusive custody of and to inventory property
such as the bag.

The Deputy could not remember ifhe asked Defendant about any alternative means
of securing the latter’s personal property. The Deputy did recall that one of Defendant’s co-
employees came to the scene immediately before the ambulance left with Defendant
However, by then, the Deputy had already found the weapons, had conveyed that fact to
Trooper Cornelius, and had received custody of the firearm(s) that Defendant had given
Trooper Cornelius The Deputy thus “wasn’t going to turn the weapons over to just
anybody.” He instead intended to put them in a safe until Defendant recovered. The only
way that the Deputy would have followed a different course of action with respect to the bag
would have been if Defendant’s “mother or father . . . [o]r wife” had been on the scene He
would not have given the bag to a co~ernployee of Defendant’s without having first looked
inside

The Deputy returned the firearms, along with the revolver that Trooper Cornelius had
recovered from Defendant, to the bag. He put the bag in the trunk of the police car. He

testified that he was not concerned about the firearms because it was “not illegal to have the

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guns, as far as [he knew], as long as they[] [were] registered552 He intended to take the bag
to the station to “tag” the items and to put the bag in a safe l-le intended to do all of this so
that the department would not be “liable if [Defendant said] that there[] [had been]
something in the bag that wasn’t in the bag when l inventoried it.”

When the Deputy arrived at the station, he took everything out of the bag and laid
everything on an “investigator’s desk” to “tag” the items in accordance with department
policy. The Deputy observed the .38 caliber that had been found by Trooper Cornelius, a
“machine gun” with four (4) loaded clips, a .22 caliber Ruger with six (6) loaded clips, a
“switch-blade” knife, a “lock-blade” knife, a compass, and a camera. (Def. Ex. 2).
According to the Deputy, he then discovered the silencer that led to the instant federal

prosecution He “inventoried” all of these items on a form entitled “Offense Report.”3 (Def.

 

2But see infra n. 3.

3The “Offense Report” might be read to contradict the Deputy’s testimony that he had not
found the silencer and was not suspicious before he arrived at the statiori. The report speaks in
past tense, describing what the Deputy did at the scene as opposed to the station, and stating that
“[a]t that time, [a] silen[cer]” was found.” Deputy Franks testified that, while the report could be
read that way, his intent when writing the report was to speak of the day’s events as a whole
The court finds the Offense Report latently ambiguous at best and resolves the ambiguity in favor
of the Deputy’s sworn testimony regarding the meaning of the Offense Report. Moreover, for
reasons explained i_ilfg, the court concludes that the Deputy would have been within the
boundaries of constitutional reasonableness had he in fact conducted an extensive search at the
scene itself before putting the backpack in his car ignorant of its contents § in@. Therefore,
the exact time that the Deputy found the silencer is not particularly significant

The report also suggests that the Trooper could have found the .38 on Defendant before
the Deputy looked in the bag. The court also rejects this interpretation of the report because it
conflicts with the testimony of all of the witnesses with personal knowledge of sequence,
including Defendant himself

The Deputy also testified that a “property receipt,” separate from the “Offense Report,”
was taken at the department The property receipt was not introduced at the suppression hearing

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Ex. 2). He then contacted agents from the federal Bureau of Alcohol, Tobacco, and Firearms
(“ATF”) and informed the agents of the silencer and of the firearms He also notified
Defendant’s employer, the Tennessee Valley Authority (“TVA”), of what he had found
because it was not “kosher” with the Deputy that Defendant would take the firearms and
silencers on TVA property.

On cross-examination, Deputy Franks testified that the items in the bag and the
pistol(s) that were given to him by the Trooper were the only personal effects that he took
custody of or inventoried, and he stated that he did not record any billfolds, keys, or similar
items. ln this case, moreover, it was THP’s responsibility, and not the deputy’s, to conduct
the “vehicle” part of the inventory. He did not remember if Defendant had told him that
Defendant wanted to contact someone else to take custody of his “zipper” bag. He did not
recall Defendant having a second bag at the scene lt was, according to Deputy Franks,
“impossible” that Defendant had more than one bag because the Deputy would have recorded
such a bag if one had been present

B. The Defendant’s Proof

Thomas Benson (“Benson”) testified first for the defense Benson was a passerby
who was the first person to arrive at the scene of Defendant’s accident Benson observed
Defendant walking up the embankment where Defendant’s vehicle had overturned
Defendant walked up the embankment without assistance even though he appeared to have

sustained a “real bad head injury.” Defendant carried a “bag of some kind.” Benson

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positioned his truck to the side of the road opposite from where Defendant’s vehicle had
plummeted, and Benson and his brother began to assist Defendant Defendant was “addled,
“wanted to fall,” and was “coming and going” in and out of sleep.

The first thing that Benson remembered the relevant law enforcement officials doing
when they arrived was standing by the tailgate where Benson, his brother, Defendant, and
the first medical responders had gathered After the ambulance came, Benson witnessed one
officer look inside Defendant’s bag. Defendant was already in the ambulance or on the
stretcher when the officer was looking through the bag. Benson did not observe any
conversation between Defendant and the officer before the officer looked inside Defendant’s
bag. Benson did not remember the officer asking Benson or anyone else about the bag before
peeking inside of it. Benson did remember that there was “a lady” present at the scene who
worked with Defendant He could not recall if “the lady” arrived before or after the
ambulance had left He remembered the officers questioning the lady as to why Defendant
was in possession of the firearms. Benson did not remember if Defendant had been carrying
one or two bags up the embankment

The defense’s second witness was Dennis Wood (“Wood”), the first medical
responder on the scene of the accident Wood noticed that Defendant was responsive but
slow. Wood treated Defendant for cervical spine injuries by placing a “C-collar” on
Defendant while they waited for the ambulance Wood helped Defendant in the ambulance

and remained in the ambulance with Defendant

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Wood was present during and witnessed the encounter between Trooper Cornelius and
Defendant The Trooper first inquired about a firearm. Defendant responded that “it was
legal” and that he did in fact have one on him. Defendant released this firearm, and perhaps
another, to the Trooper. The Trooper then left the ambulance, and Wood did not see what
the Trooper subsequently did with the firearm(s). Wood eventually rode in a separate vehicle
to the landing zone where Defendant and the ambulance met the air evacuation team.

The defense’s final witness was Defendant Defendant “guess[ed]” that he had
crawled from where his damaged vehicle was up to the road. Defendant remembered
carrying both an “Olive Drab,” or dark-green, backpack and also a darker, black leather
“computer bag.” Defendant remembered making phone calls to his mother in Alabaina and
to his foreperson at TVA. When Defendant made the calls, Defendant believed that he was
“coming to work” that day notwithstanding his injuries

After making the calls, Defendant sat on the back of Benson’s truck. He remembered
lying “on” the computer bag and he remembered placing the Olive Drab backpack on the
ground beside his feet When law enforcement came, while Defendant was either still on the
truck or already in the ambulance the officers began asking him what he did for TVA.4
Furthennore, at approximately the same time that the ambulance arrived, Defendant

remembered two (2) ofhis female tro-employees5 coming to the scene They told Defendant

 

4Defendant was wearing a TVA badge and work clothes

5The co-employees apparent names are “Jennifer Murphy and Tabby, the TVA
supervisor.”

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that he could not work that day.

Because Defendant could not go to work, he testified, he called the TVA “operator”
and told “them” that he was being transported to the hospital and that they should come to
the accident scene and retrieve his “stuf .” These “people” were there “within a matter of
ininutes.” According to Defendant, Deputy Franks allowed one of Defendant’s co-
employees, who did not testify, _to take custody of Defendant’s “computer bag.”‘5 The Deputy
did not allow the co-employee to take custody of the “Olive Drab” backpack. Defendant
stated that his billfold was inside this computer bag.

When Defendant was inside the ambulance one of the officers appeared and asked
Defendant “ ‘[w]hy do you have those guns in your [Olive Drab] bag[].” Defendant
explained that he had his guns for target practice after work, and that he was leaving one of
them with an acquaintance to be repaired that day while Defendant worked Defendant
testified that his co-employee had already come to the scene by this time The officer
informed Defendant that the officer would be retaining custody of all of Defendant’s firearms
related items and of Defendant’s “Olive Drab” backpack. When Defendant asked the officer
if everything was okay, the officer responded that there was no problem but that Defendant
“ ‘just could[] [not] take the[] [firearms].”’ Defendant told the officer that, because the
officer had already obtained the items in Defendant’s backpack anyway, Defendant would

voluntarily give the officer the firearm(S) on Defendant’s person. Other than the backpack,

 

6Defendant testified that he carried a computer and computer accessories in his computer
bag.

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the items in the backpack, and the gun or guns on Defendant’s person, Defendant testified
that his female co-employee took all of his other personal belongings from the accident scene
with law enforcement’s permission.

The court must find that most of Defendant’s testimony is not credible At the time
of the relevant events, Defendant was seriously injured and was having trouble remaining
awake Despite all of this, he was apparently making calls to inform his employer and his
mother that he was on his way to work. The “lady” that Defendant testified came to the
scene to pick up his “computer bag” did not appear at the suppression hearing, and
Defendant’s testimony that the deputies allowed her to take his non-contraband belongings
was not corroborated by any other witness ln short, the court finds that Defendant only had
one “bag” at Benson’s pickup truck on the date in question. The court further finds that,
even if one or some of Defendant’s female co-employees were at the scene, the deputies did

not permit them to take custody of any of Defendant’s personal effects

ll.

Defendant filed a motion to suppress the evidence found in the bag and on his person
on the ground that the Fourth Amendment prohibited the search of the bag. Specifically, _
Defendant argued that a search warrant was a constitutionally indispensable prerequisite to
the search in this case absent clear proof of an exception to the warrant requirement

Defendant insisted that no such exception applied to the facts The Government, on the other

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hand, argued that the “inventory search” exception could sustain the instant search
notwithstanding the Deputy’s failure to obtain a search warrant before searching Defendant’s
backpack. Alternatively, the Government maintains that, even if the search is ruled
unconstitutional, the “inevitable discovery” doctrine permits the introduction of the tainted
evidence at trial.

The Fourth Amendinent to the United States Constitution, applicable to the states

pursuant to the Fourteenth Amendment?, provides,

The right of the people to be secure in their persons, houses, papers, and effects,

against unreasonable searches and seizures, shall not be violated, and no Warrants

shall issue, but upon probable cause, Supported by Oath or affirmation, and

particularly describing the place to be searched, and the person or things to be seized
U.S. CONST. amend lV. A search conducted without prior authorization by a detached and
neutral judicial officer is per se “unreasonable” under the Fourth Amendment, unless a basis
exists for applying one of the “ ‘ few specifically established and well delineated exceptions ’ ”
to the warrant requirement l\/linnesota v. Dickerson, 508 U.S. 366, 372 (1993) (quoting,
among other cases, Thompson v. Louisiana, 469 U.S. 17, 19_20 (1967) (per curiam)). The
burden of establishing that a particular warrantless search falls within the boundaries of one
of these exceptions is on the Govemment. lf the court finds that the Government has

satisfied this burden, the court will allow the evidence to be admitted at trial so long as the

search was not otherwise “unreasonable.” See, e.g., United States v. Knights, 534 U.S. l 12,

 

fw iviapp v. ohio, 367 U.s. 643 (1961).

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l 18-19 (2001) (“The touchstone of the Fourth Amendment is reasonableness and the
reasonableness of a search is determined ‘by assessing, on the one hand, the degree to which
it intrudes upon an individual's privacy and, on the other, the degree to which it is needed for
the promotion of legitimate governmental interests.”’) (quoting Wyoming v. Houghton, 526
U.S. 295, 300 (]999)).
A.

“lnventory searches” conducted by law enforcement may be held reasonable under the
Fourth Amendment even though they are not preceded by the acquisition of a search warrant
M, Colorado v. Bertine, 479 U.S. 367, 371 (1987); United States v. Kimes. 246 F.3d
800, 805 (6lh Cir. 2001) (internal citations omitted); United States v. Fleming, 201 F.Supp.
2d 760, 770 (E.D. Mich. 2002). The inventory search must be executed in accordance with
official department policies and procedures Florida v. Wells, 495 U.S. l, 4 (1990) (citing
M, 479 U.S. at 376 (Blackmun, J., concurring); Illinois v. Lafayette, 462 U.S. 640, 648
(1983)); South Dakota v. 0pperman, 428 U.S. 364, 372 (1976). Moreover, the policies and
procedures must not be administered in bad faith or used as general pretexts for conducting

criminal investigations Wells, 495 U.S. at 4; Bertine, 479 U.S. at 376 (Blackmun, J.,

 

concurring); Opperman, 428 U.S. at 382-83 (Powell, J., concurring).
“A range of governmental interests” explain why warrantless inventory searches are
generally considered constitutionally permissible administrative procedures despite the

Fourth Amendment’s preference for search warrants in the criminal and investigative

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context Lafayette, 462 U.S. at 646. Those interests include, but are certainly not limited
to, protecting the inventory from theft or damage while in police custody, protecting the
custodian from disputes with the owner over allegedly lost or stolen property, and protecting
the custodian from the safety risks associated with taking possession of unknown contents
id at 646-47. Closely related to, but separate from, these practical justifications is the
concept that the police’s role in society is not confined to catching and apprehending
criminals; it instead extends to what is often referred to as “ ‘community caretaking.”’ w
e.g., United States v. Markland, 635 F.2d 174, 176 (2d Cir. 1980) (citing Cady v.
Dombrowski, 413 U.S. 433, 441 (1973).

When the police are acting in furtherance of these pragmatic considerations and/or in
the context of their “community caretaking” role, the premises underlying the warrant
requirement are weaker than when police are “fighting crime.” § Op_perman, 428 U.S. at
3 82-83. The warrant requirement is premised upon the notion of “probable cause,” §§ U.S.
CONST. amend lV., and on the idea that “probable cause” will be demanded by a detached
and neutral judicial magistrate before a search warrant will issue, g M. The goal is to
protect the security of individuals in their “persons, houses, papers, and effects,” against
searches carried out by “overzealous” policemen. S_ee_ Opperman, 428 U.S. at 383. When
the police conduct “inventories,” the officer is not necessarily relying upon an individual
determination that certain “suspicious” circumstances exist that excuse the invasion of a

citizen’s privacy. l_d. On the contrary, the officer is acting according to established

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administrative guidelines mandated by his department There is no need for a judge to
determine if the policeman had “probable cause” to follow those guidelines M.S

This court recognizes that the Court’s decisions out of which the “inventory search”
exception arose most often if not always involved inventories of automobiles and of personal
effects found inside of automobiles They most often also involved persons who were
already under arrest _Eg Florida v. Wells, 495 U.S. 1, 2 (1990) (search of suitcase inside
of arrestee’s impounded automobile); Colorado v. Bertine, 479 U.S. 367, 368 (1987) (search
of closed backpack removed from arrestee’s vehicle at the scene while the officer waited for
tow truck); Illinois v. Lafayette, 462 U.S. 640, 641 (1983) (search of “purse-type shoulder
bag” taken by the arrestee to the booking station); Opperman, 428 U.S. at 366 (search of
impounded vehicle that had been abandoned in a restricted parking zone); C_adH
Dombrowski, 413 U.S. 433, 442_43 (1973) (inventory of arrestee’s vehicle that had been
abandoned at the crime scene). However, the court does not consider itself confined to apply
the inventory search exception only when automobiles are involved and only when the search

is performed in conjunction with an arrest E Lafayette, 462 U.S. at 641 (inventory search

 

8The Court in Opperman also explained that the warrant requirement also sought to
decrease the occasion for judicial hindsight into the reasonableness of a particular probable cause
determination made on the field Oppennan, 428 U.S. at 383. The Court found that the absence
of a previously issued search warrant would not hamper the ability of trial judges to assess the
reasonableness of an “inventory search.” E.

ln Camara v. Municipal Court, the Court held that searches of premises by building
inspectors pursuant to a building code were not exempt from the warrant procedure Camara v.
Municipal Court, 387 U.S. 523, 528-34 (1067). Opperman declined to extend Camara to the
context of routine inventory Searches carried out by police officers

 

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of arrestee’s person); United States v. Markland, 635 F .2d 174, 175 (2d Cir. 1980)
(“inventory” of effects that had scattered from an accident victim’ s vehicle). Neither of those
circumstances fully explains the bases for the exception; the same practical and protective
rationales exist regardless of the existence of a vehicle or an arrest

Based on the foregoing, the court concludes that Deputy F ranks was authorized by the
inventory search exception to look inside the bag without a warrant, and the court likewise
concludes that it was reasonable for him to do so. Although the court has not discovered a
case in this jurisdiction that involves the same unique factual situation present in this case
(where an accident victim pulls a personal effect from a wrecked vehicle and never
technically relinquishes custody of the effect to the police), the court is of the opinion that
the Fourth Amendment simply did not require Deputy Franks to choose between giving the
backpack to a stranger, leaving the backpack on the road, or putting the backpack in his car
or at the station without knowledge of the backpacks’ contents

United States v. Markland, decided by the United States Court of Appeals for the
Second Circuit in 1980, is particularly instructive ln Markland, a postal worker lost control
of his personal vehicle as he exited a major interstate Markland, 635 F.2d 174, 175 (2d Cir.
1980), cert denied, 451 U.S. 991 (1981). Several items flew from the vehicle and onto the
road E. When a highway patrolman arrived at the scene, he met the postal worker in the
rear of an ambulance E. The patrolman smelled alcohol on the postal worker’s breath but

did not suspect him of having committed any serious crime Ld_. After the postal worker was

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taken to the hospital, the patrolman began to clean up the items that had flown from the
postal worker’s vehicle during the accident Ll_. Among other things, he found a “heavy”
beverage bag. E. He looked inside the bag, and there he found the evidence that instigated
the postal employee’s prosecution for several federal mail offenses l_d.

The trial court determined that the police essentially had no legitimate interest in
“protecting” the defendant’s personal belongings under the facts of that case § at 176. The
court of appeals reversed the judgment of the district court l_d. The court noted that
“[p]olice have a duty to protect both the lives and the property of citizens.” l_d. (citations
omitted). The court determined that a reasonable accident victim would expect the police to
take custody of and to protect any of the victim’s personal “effects” that, for whatever reason,
the victim could not bring to the hospital. M. Even if the police might not be civilly liable,
the court continued, “[t]hey surely would be derelict in their duty to the public.” E. After
affirming these police duties, the court then refused to hold that the patrolman was
unreasonable for not retaining indefinite custody of a backpack without knowledge of its
contents id

Here, the evidence is that on the morning of June 21 , 2004, Defendant swerved his
vehicle to avoid hitting a deer. Defendant crawled from his vehicle some one-hundred (100)
feet back to where the road was Defendant carried one “Olive Drab” backpack, in which
he had a reasonable expectation of privacy, with him to the road Benson allowed Defendant

to rest on the former’s tailgate while the two waited for further assistance

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When law enforcement finally arrived, Defendant was at Benson’s tailgate, and he
was worried about his backpack. However, the officers were aware of the fact that
Defendant would not be permitted to retain custody of his backpack in the ambulance or on
the helicopter. Furthermore, the Hardin County Sheriff’s Department had an established
policy that the officers would more or less assume and retain custody of such personal effects
for reasons unrelated to a criminal investigation. Finally, even if there may have been a co-
employee present at the scene, and even if the co-employee had been ready, willing, and able
to assume responsibility of the backpack, the officers had already discovered several
dangerous instrumentalities by that time By that time, the officers’ own established
guidelines did not permit them to surrender control of such instrumentalities to “just
anybody” on the road

In short, on the morning in question, the backpack was ultimately the officers’
responsibility They could not leave it with Defendant They could not leave it on the road
They could not leave it with a “co-employee.” Pursuant to department policy, and
irrespective of any underlying law enforcement “suspicion” that one or more of the officers
may have arguably had, the fact is that the officers had little if any discretion over the
disposition of Defendant’s backpack.

The Court concludes that, pursuant to the inventory exception to the warrant
requirement of the Fourth Amendment, Deputy Franks was legally entitled to look inside the

backpack either at the Scene of the accident or back at the station without first obtaining a

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search warrant Second, the court concludes that Deputy Franks exercised his duty in a
reasonable good faith manner and not as a subterfuge for crime investigation Accordingly,
Defendant’s Motion to Suppress is DENIED.
B.
Because the search was lawful, the court will not consider the Government’s
alternative argument that the “inevitable discovery” doctrine operates in this case to allow

the introduction of unlawfully obtained primary evidence
lll.

Defendant’s l\/lotion to Suppress is DENlED.

lT lS SO ORDERED.

A.Qa-M

lA S D. TODD
UN ED STATES DISTRICT JUDGE

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DATE d

 

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Notice of Distribution

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